                        Case 2:12-cr-00235-ECM-TFM Document 516 Filed 03/20/14 Page 1 of 5

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                                                    UNITED STATES DISTRICT COURT
                                                                  MIDDLE DISTRICT OF ALABAMA

                UNITED STATES OF AMERICA                                                          JUDGMENT IN A CRIMINAL CASE
                           V.                                                                      (WO)

                          ROBERT MCKENZIE                                                         Case Number: 2:12cr235-MEF-014

                                                                                                  L'SM Number: 4312-002

                                                                                                   David Richard Clark
                                                                                                  T)c iiiidiiii ' t' ii li - il C',
THE DEFENDANT:
     p!cadcd guilty to COunt(s)                  1 and 32 of Indictment on 7/17/2013
D pleaded nolo cont endere to C01-111t(S)
   which was accepled by the court.

     was louiid guilty ott co1mt(5)
     alter a pica ul riaL giiitv.


1 he defendant is adjudicated guilt y obtliesc ubbi'nsL's:

Title & Section                          Nature       of Offense                                                                        Offense Ended        Count

 21846                                     Conspiracy to Possess with Intent to Distribute Cocaine                                       5/31/2012            1
 21841(a)(1)                               Distribution of Cocaine Base                                                                  5/31/2012            32




     5cc ,idditional i hug'.) on paitc


      The defendant i setiteitced as provided in pages 2 through 5 of this udgrncnL The Sentence is imposed pursuant LU the
Sentencing Reform Act of I 94.

     The defendant has been found not guilty oil

     'Count(s) 33 of the Indictment                                   is   D arc dismissed oil                        motion of the United States.

            Ft is ordei-ed ibiat the defendant i nist notify the United States attorney for this district within 30 days of any chaiie of name, esideuce,
Or maihag addrc ',s air til all g ries, reslituliun, costs, and special asscssmeuts imposed by this judgmcni are fully paid. I 'ordered to pa restitinion,
the defendant must notify the court and United States attonle\ of niatcr-ial chanes in economic cii'c
                                                                                              umstanees

                                                                                 3/14/2014
                                                                                  I          ,i   ni i',i.'•, i, ii   i   10 111n11
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                                                                                  Signature C11,
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                                                                                 Mark E. Fuller, United States District Judge
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                            Case 2:12-cr-00235-ECM-TFM Document 516 Filed 03/20/14 Page 2 of 5

 AO 245B               (Rev. W1 1) Judginenl in a Criminal ('am
 VI                   Sheet 4—Probation

                                                                                                                                 Judgment Page: 2 of 5
      DEFENDANT: ROBERT MCKENZIE
      CASE NUMBER: 2:12cr235-MEF-014
                                                                         PROBATION
  The defendant is hereby sentenced to probation for a term of:

      Three (3) Years Probation as to counts I and 32, to be served concurrently.




      l'he defendant shall not commit another federal, state or local crime.
      The defendant shall not unlawfull y possess a controlled substance. l'he defedant shall refrain from an y unlawful use of a controlled
      substance. The defendant shall siihmitto one drug test within 15 days of placement on probation and t least two periodic drug tests
      thereafter, as determined by the court.
      E]        '[he above drug testing condition is suspended, based on the court's determination that the del'endani poses a low risk of'
                lu ture substance abuse. (Checf if upplicuhie)

                ['he defendant shall not pocss a firearm. ammunition, destructive dc ice, or any other dangerous weapon. (Check. Jopplicahie)

                The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if app/cable

      E         '[he defendant shall comply with the requiremelits ot ' the Sex Offender Rcgistratioi and Notification Act. (42 U.S.C. § 1690 I, el seq.)
                as directed by the probation officer, the Bureau ol'Prisons, or an y state sex of-fender registration agency in which he or she resides,
                works, is a student. or was convicted of a qualifying offense. (Check, ifapplcethle.)

      El The defendant shall participate in an approved program for domestic violence. (Check. rfapplcchk'u)
             lf this jud gment imposes a fine or restitution, it is a condithn of probation that thcdefendant pay in accordance with the Schedule of
      Payments sheet of is judgment.
                'I'he defendant imst comply with the standard conditions that hee been adopted bythis court as well as with any additional conditions
      on the attached page.

                                                  STANDARD CONDITIONS OF SUPERVISION
I)                the defendant shall nut lea e the iudicial district without the permission of lie court or probation olhccr:
           2)     the defendant shall report to the probation ollicer iii a manner and frequency directed by the court or probation officer;
           3)    the defendant shall answer :ruthftilly all inquiries by the probation officer and hallow the instructions of the probation officer;
          4)      the defendant shall support his or her dependents and meet other family responsibilities;
           5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
                 acceptable reasons:
           6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           7)    the defendant shall refrain from excessive use of alcohol and shall not purchase. possess, use, distribute, or administer any controlled
                 substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
           81    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
          9)     the defendant shall not associate ith any persons en'agcd in criminal activity and shall not associate with any person convicted of
                 felony, unless granted permission to do so by the proation otlicer;
       10)       the defendant shall permit a probation olflcer to visit him n or her at any time at home or elsewhere and shall permit confiscation ot' any
                 contraband observed in plain view of the probation ollLcer;
       II)       the defendant shall not-ii' the probation officer within se enty-two hours of' being arrested or questioned by a law enl'orcerriint oflicer;
       12)       the defendant shall not enter into any agreement to act as an inlbrmer or a special agent ol'a law enlhrcemnt agency without the
                 permission o!thc court: and
       13)       as directed by the probation ol'ficcr, the defendant shall notic third parties ot'risks that may he occasioned by the del'enrhni's criminal
                 record or personal histoi'v or characteristics and shall permit the probation of'ficcr to make such notifications and to confirm the
                 defendant s compliance with such notification rcquircment.all refrain from
                  Case 2:12-cr-00235-ECM-TFM Document 516 Filed 03/20/14 Page 3 of 5

AO 24         (Rev 094 I) .Iudgrnent in a Cnrniml Case
 I             SJiee 4C - Probation

                                                                                                     .Jtidgmcnl Page. 3 oF 5
 DEFENDANT: R0I3Elfl MCKENZIE
 CASE NUMBER: 2. 12cr235MFI-OI4


                                            SPECIAL CONDITIONS OF SUPERVISION
     1) Defendant complete 150 hours of community service at a time and location approved by the United States Probation
     Office.
                      Case 2:12-cr-00235-ECM-TFM Document 516 Filed 03/20/14 Page 4 of 5

AG 24513         (Ray 09/11) Judgmani in a Criminal Cam
V1                Shed 1   Criminal Monetar PanaItie

                                                                                                                           Judgment Page: 4 of 5
     DEFENDANT: ROBERT MCKENZIE
     CASE NUMBER: 2:12cr235-MEF-014
                                                  CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Shed 6.


                           Assessment                                       Fine                                Restitution
 TOTALS                S 200.00                                           S 0.00                              $ 0.00



     El The determination of restitution is deferred until -                 . An Amended Judgment in a Criminal Case (A0 245C) will be entered
         after such determination.

         The defendant must make restitution (including communits restitution) to the following payees in the -amount listed below.

         If the defendant niakes a partial payment. each pa cc shall receive art approximately pro ortinned pa ment, unless specified otherwise in
         the priori t' order or percentage py meni column be It) \v. I loweser, pursuant to I S IJ.S. 3664(1), all noniedeta I victims must he paid
         helnre the I tnited Slates is paid.

     Name of Payee                                                    Total Loss*                 Restitution Ordered Priority or Perceutage




 TOTALS                                                                                 $0.00                      $0.00



 LI       Restitution amount ordered pursuant 10 plea agreement S

                                               s
 LI       The deFendant must pay interest on re titution and a line of more than S2,500, unless the restitution or line is paid in full helhre the
            fteeoth day after the dale ol the judgment, pursuant to 18 U.S.C. 3612(f). All of the pa y ment options on Sheet 6 may he subject
          to penalties ftr delinquency and default, pursuant to 18 U.S.C. 3612(g).

 El       The court determined that the dcl'cndant does not have I he ability to pa y interest and it is ordered thai:

          E the interest requirement is waived ]or the             line     R restitution.

              the interest requirement for the         LI tine   L restitution is modified as follows:



 * Findings lhr the total ammuni of losses are required undei-Chaers 109A, 110, 11 OA. and 113A of Title 18 furoffenses committed on oralier
 September 13, 1994. hut before April 23, 1996.
                  Case 2:12-cr-00235-ECM-TFM Document 516 Filed 03/20/14 Page 5 of 5

AU 24513      (Rev. 09/11) JuOginerS 1151 Criminal Case
V1            Sheet. 0— Sehedule ui Pavinents

                                                                                                                          Jud in en Page 5 of 5
 DEFENDANT: ROBERT MCKENZIE
 CASE NUMBER: 2:12cr235-MEF-014


                                                          SCHEDULE OF PAYMENTS

 Havin g assessed the delèndant's ability to pay. payment ot the total criminal monetary penalties is due as folloss:

 A          Lump sum payment of$ 200.00                         due immediately, halancc due

                  not later than              --                     or
              ' in accordance             l        C,      D.        F, or     V F below; or
 13         Payment to begin immediately (may he combined with               fl C.          D, or    lj F below): or

 C          PaN meni in equal             --       (e g, weok/v, month/v, quarter/e) installments of S                            over a period of
              -           (v ,,. osünihs oriew-). 10 commence                       (e.g., 30 or 60 usv) after the date of this judgment: or

 D    El Payment in equal            -           (e.g.. weekly, monthly, quarter/v) installments ci                          over a period of
                        (e g. monihs or years). to commence                       (e.g., 30 or 60davs) after release from imprisonment to a
          term ot supervision; or

 E    F1 Payment during the term ofsuperviscd release will commence within                    (e.g. 30 or 60 davs) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F          Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments arc to be made to the Clerk, United States District Court, Middle District ol'Alabama, Post
            Office Box 711, Montgomery, Alabama 36101.




 Unless the court has expressly ordered otherwise, if thisjudgment imposes imprisonment, payment of erirtinal monetar y penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' lnmai.e Financial
 Responsibility Program, are made to the clerk of the court,

 The dethndamt shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 E    ,loinl and Sc ertit

      Defendant and Co-Delindant Names and Case Numbers (including de,frndan nwnber), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

 E     Hie defendant shall pa the ft>llo'o ing court cost(s):

 E    The deftndant shall hut-leil the defendant's intereeL iii the loIlosing property to the United States:




 Payments shall he applied in the followingorder: (1) assessment, (2) restitution principal, (3) restitution interest. (4) fine principal,
 (5) tine interest. (6) community restitution, (7) penalties, and (8) costs, including cost ot prosecution and court costs.
